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11                              UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF CALIFORNIA
12

13   ANIBAL RODRIGUEZ, et al. individually and on    Case No. 3:20-CV-04688 RS
     behalf of all others similarly situated,        DECLARATION OF EDUARDO E.
14                                                   SANTACANA IN SUPPORT OF
                                Plaintiff,
15                                                   GOOGLE LLC’S MOTION TO
            v.                                       EXCLUDE PLAINTIFFS’ EXPERT
16                                                   OPINION OF BRUCE SCHNEIER
     GOOGLE LLC, et al.,
17                                                   Date:        May 15, 2025
                                Defendant.           Time:        1:30 p.m.
18                                                   Courtroom:   3, 17th Floor
19                                                   Judge:       Hon. Richard Seeborg

20                                                   Action Filed: July 14, 2020
                                                     Trial Date:   August 18, 2025
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                             SANTACANA DECLARATION ISO GOOGLE’S
                 MOTION TO EXCLUDE PLAINTIFFS' EXPERT OPINION OF BRUCE SCHNEIER
                                     Case No. 3:20-CV-04688 RS
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 1          I, Eduardo E. Santacana, declare:

 2          1.      I am an attorney licensed to practice law in the State of California and am a partner

 3   with the law firm of Willkie Farr & Gallagher LLP, located at 333 Bush Street, 34th Floor, San

 4   Francisco, California 94104, counsel for Defendant Google LLC (“Google”) in the above-captioned

 5   action. Unless otherwise stated, the facts I set forth in this declaration are based on my personal

 6   knowledge or knowledge I obtained through my review of corporate records or other investigation. If

 7   called to testify as a witness, I could and would testify competently to such facts under oath.

 8          2.      I submit this declaration in support of Google’s Motion to Exclude Bruce Schneier filed

 9   herewith.

10          3.       Attached hereto as Exhibit 1 is a true and correct copy of the Expert Report of Bruce

11   Schneier, submitted by Plaintiffs in the above-captioned matter on February 20, 2023, previously

12   filed as Dkt. 361–57.

13          4.      Attached hereto as Exhibit 2 is a true and correct copy of relevant excerpts of the

14   transcript of the deposition of Bruce Schneier, taken on July 10, 2023.

15          5.      Attached hereto as Exhibit 3 is a true and correct copy of the Supplemental Report of

16   Bruce Schneier, submitted by Plaintiffs in the above-captioned matter on January 6, 2025.

17          I declare under penalty of perjury under the laws of the United States that the foregoing is true

18   and correct.

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20   Dated: April 3, 2025                                           /s/ Eduardo E. Santacana
                                                                      Eduardo E. Santacana
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                             SANTACANA DECLARATION ISO GOOGLE’S
                 MOTION TO EXCLUDE PLAINTIFFS' EXPERT OPINION OF BRUCE SCHNEIER
                                     Case No. 3:20-CV-04688 RS
